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                                       November 5, 2020


BY ECF
Honorable Laura T. Swain
United States District Judge                                    MEMO ENDORSED
United States Courthouse
40 Foley Square
New York, New York 10007

                    Re: United States v. Fertides (Specifically Jeremy Estevez)
                                          18 CR 319 (LTS)

Dear Judge Swain:

        I write in response to the Court’s order directing the attorneys for the defendants in the
above case to file budgets with Alan Nelson, Court Budgeting Attorney. After conferring with
Mr. Nelson and at his suggestion, I write to inform the court that Jeremy Estevez already pleaded
guilty and was sentenced, and that the hours spent representing Mr. Estevez would unlikely be in
excess to the presumptive limit for felony CJA cases. Mr. Nelson suggested I write the court to
explain the situation described herein to excuse the requirement of filing a budget. Accordingly,
I request to be excused from the directive to file a budget.


                                                            Respectfully,
 The request is granted. DE# 313 resolved.
                                                            /S/ Louis M. Freeman
 SO ORDERED.
                                                            Louis M. Freeman
 11/5/2020
 /s/ Laura Taylor Swain, USDJ
